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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF DELAWARE


  Donna Kolodzieski,                                Civil Action No. 17-1702

                          Plaintiff,


            – against–



  Capital One Bank (USA), National
  Association, Experian Information Solutions,
  Inc., TransUnion, LLC and Equifax
  Information Services, LLC,

                          Defendant(s).



                                NOTICE OF SETTLEMENT

       PLEASE TAKE NOTICE that all matters herein have been compromised and settled as

between Plaintiff and Defendant, Capital One Bank (USA), National Association. Plaintiff intends

on filing a Stipulation of Dismissal with Prejudice and Proposed Order once the settlement is

consummated.

                                       Respectfully submitted,

                                       s/ Antranig N. Garibian
                                       Antranig N. Garibian
                                       Garibian Law Offices, P.C.
                                       1010 Bancroft Parkway, Suite 22
                                       Wilmington, DE 19805
                                       Telephone: 215-326-9179
                                       Email: ag@garibianlaw.com
                                       Counsel for Plaintiff
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                                  CERTIFICATE OF SERVICE

       I, Antranig Garibian, Esq., hereby certify that a copy of the Notice of Settlement between

Plaintiff and Defendant, Capital One Bank (USA), National Association, has been filed

electronically. Notice of this filing will be sent to all parties by operation of the Court’s electronic

filing system. Parties may access this filing through the Court’s electronic filing.



                                        Respectfully submitted,

                                        s/ Antranig N. Garibian____
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